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     Attorney for HUNG QUE TRAN,
6    Defendant
7

8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                No. 96-CR-00350-WBS
12                  Plaintiff,                STIPULATION AND ORDER
                                              TERMINATING PRETRIAL
13         v.                                 SUPERVISION
14   HUNG QUE TRAN,
15                  Defendant.
16

17         It is hereby stipulated and agreed by and between the parties hereto,
18   through their respective counsel, that the release condition of Pretrial Services
19   supervision imposed on defendant Hung Que Tran on August 28, 1996, by The
20   Honorable John F. Moulds, United States Magistrate Judge, shall now be
21   terminated. Termination of supervision has been recommended by Pretrial
22   Services in light of Ms. Tran’s compliance with supervision for almost 17 years.
23

24   Dated: July 8, 2013                                        /s/ Candace A. Fry
25                                                      CANDACE A. FRY, Attorney for
                                                        HUNG QUE TRAN, Defendant
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1
     Dated: September 2, 2013                            BENJAMIN B. WAGNER
2                                                  United States Attorney

3                                            By     /s/ Candace A. Fry for
                                                   WILLIAM S. WONG, Assistant
4                                                  United States Attorney

5                                                  (Signed for Mr. Wong with
                                                   his prior authorization)
6

7                                     ORDER

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          IT IS SO ORDERED.
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          Dated: October 3, 2013
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                                         _____________________________________
12                                       CAROLYN K. DELANEY
                                         UNITED STATES MAGISTRATE JUDGE
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